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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TENNESSEE
                                         EASTERN DIVISION

UNITED STATES OF AMERICA

-vs-                                                                Case No. 1:20-cr-10048-STA

Justin Coffman

                      ORDER OF TEMPORARY DETENTION PENDING HEARING1
                                PURSUANT TO BAIL REFORM ACT


Upon motion of the Government , it is ORDERED that a detention hearing is set for

                                            October 30, 2020
                                                 10:00 am
before United States Magistrate Judge Jon A. York in Courtroom 3, Third Floor, United

States Courthouse and Federal Building, Jackson, Tennessee. Pending this hearing, the

defendant shall be held in custody by the United States Marshal and produced for the

hearing.


    Date:       October 27, 2020                   s/ Jon A. York
                                                   UNITED STATES MAGISTRATE JUDGE




1
          If not held immediately upon defendant’s first appearance, the hearing may be continued for
up to three days upon motion of the government, or up to five days upon motion of the defendant. 18
U.S.C. § 3142(f)(2).
          A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present.
Subsection (1) sets forth the grounds that may be asserted only by the attorney for the government;
subsection (2) states that a hearing is mandated upon the motion of the attorney for the government or
upon the judicial officer’s own motion, if there is a serious risk that the defendant (a) will flee or (b) will
obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten, injure
or intimidate a prospective witness or juror.
